ILND 450 (Rev. 10/13) Judgment in a Civil Action


                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Yoona Ha,

Plaintiff(s),
                                                                   Case No. 14 C 895
v.                                                                 Judge Harry D. Leinenweber

Northwestern University,

Defendant(s).

                                                   JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment is hereby entered in favor of the defendant Northwestern University and against
plaintiff, Yoona Ya.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Harry D. Leinenweber on a motion for judgment on the pleadings.



Date: 11/13/2014                                               Thomas G. Bruton, Clerk of Court

                                                               Wanda Parker , Deputy Clerk
